Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 1 of 69 Page ID #:9




         EXHIBIT A
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 2 of 69 Page ID #:10
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 3 of 69 Page ID #:11
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 4 of 69 Page ID #:12
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 5 of 69 Page ID #:13
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 6 of 69 Page ID #:14
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 7 of 69 Page ID #:15
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 8 of 69 Page ID #:16
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 9 of 69 Page ID #:17
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 10 of 69 Page ID #:18
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 11 of 69 Page ID #:19
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 12 of 69 Page ID #:20
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 13 of 69 Page ID #:21
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 14 of 69 Page ID #:22
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 15 of 69 Page ID #:23
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 16 of 69 Page ID #:24
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 17 of 69 Page ID #:25
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 18 of 69 Page ID #:26
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 19 of 69 Page ID #:27
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 20 of 69 Page ID #:28
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 21 of 69 Page ID #:29
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 22 of 69 Page ID #:30
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 23 of 69 Page ID #:31
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 24 of 69 Page ID #:32
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 25 of 69 Page ID #:33
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 26 of 69 Page ID #:34
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 27 of 69 Page ID #:35
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 28 of 69 Page ID #:36
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 29 of 69 Page ID #:37
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 30 of 69 Page ID #:38
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 31 of 69 Page ID #:39
Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 32 of 69 Page ID #:40
                                              Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 33 of 69 Page ID #:41




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                                                                                                COUNTY OF LOS ANGELES
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                                                   CLAUDIA APOLINAR and                                 Case No. 21STCV29196
                                                18 EMMANUEL PEREZ-PEREZ,
                                                                                                        FIRST AMENDED
                                                19 Plaintiffs,                                          COMPLAINT FOR DAMAGES
                                                20 v.                                                   JURY TRIAL DEMANDED
                                                21 POLYMER80, INC., a Nevada
                                                   corporation, and DOES ONE through
                                                22 FIFTY,

                                                23        Defendants.
                                                24

                                                25                                                 INTRODUCTION
                                                26        1.       This case is about the unlawful and negligent sale of an untraceable
                                                27 home-assembled “ghost gun” kit that resulted in the September 2020 ambush

                                                28


                                                                 FIRST AMENDED COMPLAINT FOR DAMAGES – CASE NO. 21STCV29196
                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 34 of 69 Page ID #:42




                          1 shooting of Los Angeles County Sheriff’s Deputies Claudia Apolinar and Emmanuel

                          2 “Manny” Perez-Perez, each of whom sustained multiple severe wounds.

                          3        2.     On the evening of September 12, 2020, Sheriff’s Deputies Apolinar and

                          4 Perez-Perez (hereafter “Perez”) were on a routine shift sitting in a marked patrol

                          5 cruiser near the Martin Luther King Jr. Transit Center in Compton, CA.

                          6        3.     A man dressed in black shorts, a grey sweater, and armed with a

                          7 Polymer80 ghost gun pistol silently approached the passenger side window of their

                          8 patrol cruiser under cover of night. Without warning, he ambushed them.

                          9        4.     Deputy Apolinar was seated in the driver’s seat. The first indication she
                       10 had of an attack was the sound of shots coming from her assailant’s Polymer80 pistol

                       11 at point blank range. She immediately felt a searing, warm pain. She tried to radio

                       12 for help but could not speak. She would later learn that one of multiple gunshot

                       13 injuries she suffered was to her jaw. She could not speak because the shooter’s bullet

                       14 had sliced apart her tongue.

                       15          5.     For Deputy Perez, the first indication of an attack was a glimpse of
                       16 movement out of the corner of his eye. Before he could react, he heard the sound of

                       17 gunfire – four shots – and saw the flash of the muzzle. He immediately tried to call

                       18 for help but his radio, which he later learned was struck by a bullet, was inoperable.

                       19 He tried to open his door to defend himself against the attacker but found he was

                       20 unable to use his hands. One of his multiple gunshot wounds was in his right arm.

                       21          6.     After both Deputies were shot, Deputy Perez was eventually able to

                       22 open the door with his left hand. He first tried to determine whether the shooter had

                       23 fled the scene. He attempted to apply a tourniquet to his own bleeding arm but was

                       24 unable to. He then scrambled around the hood of the car to the driver’s side and saw

                       25 that his partner Deputy Apolinar had been shot in the face. Together, they hid

                       26 behind a pillar, as they were unsure of the shooter’s location. Deputy Apolinar

                       27 examined her partner’s wounds and applied a tourniquet to his arm. Deputy Perez

                       28 realized that his partner’s radio was activated but that she could not speak. Using
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                          1 his partner’s radio, he called for help. The two of them waited until other Sheriff’s

                          2 Deputies arrived and transported them to the hospital.

                          3        7.      Days later, during a pursuit of a carjacker, the suspect – Deonte Murray

                          4 (the “shooter”) – discarded a gun that was matched by ballistics to the ambush of

                          5 Deputies Apolinar and Perez.

                          6        8.      The shooter was charged with attempted murder, assault with a deadly

                          7 weapon, and being a convicted felon illegally in possession of a firearm, among other

                          8 crimes.

                          9        9.      The shooter was a California resident who had a history of prior felony
                       10 convictions that made it illegal for him to purchase or possess firearms, including

                       11 convictions for firearm possession, sale and possession of narcotics, receiving stolen

                       12 property, and burglary and terrorist threats.

                       13          10.     At all relevant times, Polymer80, Inc. (“Polymer80”) and Does One
                       14 through Fifty (collectively “Defendants”) – manufactured, advertised, and sold

                       15 firearm kits that included some or all the components necessary to quickly and easily

                       16 build complete and fully functional frames and weapons, including Glock-style semi-

                       17 automatic handguns like the one used to ambush Plaintiffs.

                       18          11.     These do-it-yourself firearms are commonly known as “ghost guns”
                       19 because they lack serial numbers and are therefore extremely difficult, if not

                       20 impossible, for law enforcement to trace when recovered in connection with criminal

                       21 investigations.

                       22          12.     Because a central purpose of ghost guns is that they are untraceable, it

                       23 is difficult and often impossible to determine with certainty who manufactured, sold,

                       24 purchased, or transferred a particular ghost gun. Nevertheless, the firearm used in

                       25 the attack of Deputies Apolinar and Perez has been identified as a Polymer80

                       26 handgun, model PF940c. Upon information and belief, the firearm had no serial

                       27 number and bore no identifying characteristics save for a “P80” logo—the insignia of

                       28 Defendant Polymer80—stamped on the gun.
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                          1        13.     Upon information and belief, the unserialized Polymer80 firearm used

                          2 in the ambush attack of Sheriff’s Deputies Apolinar and Perez was originally

                          3 purchased as a kit in California from either Polymer80 or one of Polymer80’s third

                          4 party distributors, who sold it without performing a background check.

                          5        14.     Defendants sold Polymer80 ghost gun kits without serial numbers and

                          6 without taking reasonable steps to ensure that purchasers are legally allowed to

                          7 purchase or possess firearms, despite knowing that their deadly products are

                          8 especially attractive to criminals and would likely and foreseeably end up in the

                          9 hands of dangerous persons prohibited from legally owning firearms under federal
                       10 and state law. Furthermore, Defendants did not take reasonable steps to ensure that

                       11 law enforcement could trace their assembled firearms if they were used in crimes. In

                       12 fact, Defendants purposefully sold their products without markings to make it

                       13 difficult for law enforcement to trace the firearm. Defendants knew and could foresee

                       14 – but consciously disregarded the risk – that they were creating and contributing to a

                       15 direct and secondary market for illegal, unserialized and untraceable guns, knowing

                       16 that their firearms were likely to end up in the hands of criminals and were likely to

                       17 be used for criminal purposes like the ambush shooting of the Plaintiffs.

                       18          15.     The proliferation of ghost guns has become a nationwide public health
                       19 emergency, as these firearms have increasingly become weapons of choice for

                       20 criminals. According to the Bureau of Alcohol, Tobacco, Firearms and Explosives

                       21 (“ATF”), from 2016 to 2020 there were approximately 23,906 suspected privately

                       22 made ghost guns reported to ATF as having been recovered by law enforcement from

                       23 potential crime scenes, including 325 homicides or attempted homicides. 1

                       24

                       25

                       26
                           May 21, 2021 Proposed Rule Docket No. ATF 2021R-05, Federal Register Vol. 86,
                              1
                       27
                          No 97 at 27722 available at https://www.govinfo.gov/content/pkg/FR-2021-05-
                       28 21/pdf/2021-10058.pdf (last accessed August 6, 2021)(hereafter “Proposed Rule”).
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                          1        16.     The proliferation of ghost guns has been an especially severe problem in

                          2 California and Los Angeles in particular. In recent years, nearly 33% of all firearms

                          3 recovered from federal criminal investigations across California lacked serial

                          4 numbers. 2 In the Los Angeles area, the ATF has stated that over 40% of its

                          5 recoveries are ghost guns. 3

                          6        17.     According to public reports and legal filings, Polymer80 is by far the

                          7 largest seller and manufacturer of ghost gun kits and components. For example, of

                          8 approximately 1,475 ghost guns seized in 2019 and entered into the ATF’s database

                          9 of ballistic images, over 86% (1,278) were assembled from Polymer80 components. 4 In
                       10 2020, the LAPD recovered over 700 firearms with Polymer80 components during the

                       11 course of criminal investigations.

                       12          18.     Polymer80 is currently under federal criminal investigation for its sale
                       13 of ghost gun kits. In December 2020, the ATF executed a search warrant at

                       14 Polymer80’s Nevada headquarters as part of its investigation into Polymer80’s sales

                       15 of all-in-one “Buy Build Shoot Kits,” from which purchasers can quickly and easily

                       16 assemble their own Glock-style semi-automatic handguns – the same type of firearm

                       17 used in the ambush shooting of Deputies Apolinar and Perez. 5

                       18          19.     Polymer80’s core products—gun building kits that are quickly and

                       19 easily assembled into operable weapons—fall under the definition of “firearm” and, in

                       20 certain instances, “handgun” under federal law. Therefore, Polymer80’s business

                       21 practice of selling gun building kits without serial numbers, without conducting

                       22

                       23     2
                         Alain Stephens, Ghost Guns Are Everywhere in California, THE TRACE (May 17, 2019),
                       https://www.thetrace.org/2019/05/ghost-gun-california-crime/.
                  24 3
                         Brandi Hitt, Ghost Guns’ Investigation: Law Enforcement Seeing Unserialized Firearms on
                  25 Daily Basis in SoCal, ABC7 LOS ANGELES (January 30, 2020), https://abc7.com/5893043/.
                       4 Affidavit of ATF Special Agent Tolliver Hart, In the Matter of the Search of the
                  26
                       Business and Federal Firearms Licensee known as Polymer80, which is located at 134
                  27 Lakes Blvd., Dayton, NV 89403, 3:20-mj-123-WGC, ¶ 28(e) (D. Nev. Dec, 9,
                       2020)(hereafter “ATF Affidavit”).
                  28 5
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                         ATF Affidavit at ¶ 28(c).
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                          1 background checks, and to purchasers residing in a different state, is illegal under

                          2 federal law.

                          3            20.     Defendants have also violated California law by aiding and abetting the

                          4 manufacture of handguns that fail to comply with (a) the safety requirements of

                          5 California’s Unsafe Handgun Act and (b) California’s certification and serial number

                          6 requirements. Indeed, the ATF has stated in a search warrant application that

                          7 “manufacturing or assembling a firearm made with [Polymer80] pistol frames is

                          8 unlawful in California.” 6

                          9            21.     Defendants have also violated California’s Unfair Competition Law in
                       10 multiple ways, including by falsely and misleadingly representing, expressly and by

                       11 implication, that it was legal to purchase and build a Polymer80 PF940c frame kit or

                       12 Buy Build Shoot Kit in California, when, as Defendants knew, it was not.

                       13              22.     Defendants created a public nuisance and acted with gross negligence,
                       14 recklessness, and malice towards Plaintiffs and all Californians, and acted with

                       15 conscious disregard for the health and safety of Plaintiffs and all Californians, by

                       16 creating a market that unreasonably and directly and indirectly put untraceable, no-

                       17 background check guns in the hands of dangerous persons, foreseeably resulting in

                       18 the use of its guns in criminal acts.

                       19              23.     By this lawsuit, Plaintiffs seek to hold Polymer80 and its principals

                       20 accountable for its role in facilitating and causing one particularly reprehensible

                       21 criminal act carried out with one of its ghost guns: the ambush shooting of Sheriff’s

                       22 Deputies Apolinar and Perez in September 2020.

                       23              24.     Plaintiffs, as law enforcement officers themselves, seek accountability –

                       24 not only the accountability of the shooter which he will face in the context of his

                       25 criminal prosecution, but also the civil responsibility of those who recklessly equipped,

                       26 enabled, and empowered the shooter to commit his crimes.

                       27

                       28
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                              6   ATF Affidavit at ¶ 65, note 6
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                          1                                        PARTIES

                          2        25.     Claudia Apolinar is a Los Angeles County Sheriff’s Deputy, who

                          3 graduated from the Los Angeles County Sheriff's Deputy Training Academy in 2019.

                          4 As a college student, she took criminal justice classes from former law enforcement

                          5 officers. She was inspired by their commitment to service and bravery. She loves the

                          6 community where she grew up – East Los Angeles. When her son was born, she

                          7 decided to pursue work in a field where she could help ensure that the East Los

                          8 Angeles area she grew up in was as safe and supportive as she remembered. Her

                          9 career in law enforcement allows her to realize that vision.
                       10          26.     Emmanuel Perez is a Los Angeles County Sheriff’s Deputy, who
                       11 graduated in the same Sheriff’s Deputy Training Academy 2019 class as Claudia

                       12 Apolinar. Growing up in a working class Mexican American community, he had a

                       13 number of negative experiences with law enforcement. Yet, he became a Sheriff’s

                       14 Deputy because he believes that police officers can play a vital role in his community.

                       15 He wants to serve as a positive example of law enforcement in his city. As a Los

                       16 Angeles County Sheriff’s Deputy, he has always been committed to treating everyone

                       17 he meets fairly and with dignity and respect.

                       18          27.     Defendant Polymer80, Inc. is a Nevada corporation with its principal
                       19 place of business in Dayton, Nevada. Polymer80, Inc. holds a Federal Firearms

                       20 License.

                       21          28.     Defendants, and each of them, knowingly structured their business to

                       22 knowingly circumvent governing federal and state laws applicable to firearms and

                       23 handguns, by opting to design readily manufactured unserialized gun and frame kits

                       24 and selling them without background checks.

                       25          29.     The true names and capacities, whether individual, corporate, or

                       26 otherwise, of Does One through Fifty, inclusive, are presently unknown to Plaintiffs,

                       27 who therefore sue them by fictitious names. Plaintiffs shall amend the complaint to

                       28 show the true names of each fictitiously named defendant when ascertained.
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 40 of 69 Page ID #:48




                          1        30.     Plaintiffs allege that, in addition to acting on its own behalf, all of the

                          2 acts and omissions described in this Complaint by Polymer80 were duly performed

                          3 by, and attributable to, all Defendants, whether named or unnamed, with each acting

                          4 as agent, ostensible agent, employee, alter ego, joint enterprise and/or under the

                          5 direction and control of the others, and such acts and omissions were within the

                          6 scope of such agency, ostensible agent, employment, alter ego, joint enterprise,

                          7 direction, and/or control. Any reference in this Complaint to any acts of Defendants

                          8 shall be deemed to be the acts of each Defendant acting individually, jointly, or

                          9 severally.
                       10                                JURISDICTION AND VENUE

                       11          31.     This Court has subject matter jurisdiction under California Code of Civil

                       12 Procedure § 410.10 because Plaintiffs are domiciled in the State of California, the site

                       13 of injuries was in the State of California, and the amount in controversy exceeds

                       14 $25,000.

                       15          32.     The Court has personal jurisdiction over Defendants in that, at all

                       16 relevant times, Defendants, and each of them, did business in the State of California,

                       17 and otherwise had the requisite minimum contacts with the State to justify this

                       18 Court exercising jurisdiction over them.

                       19          33.     Specifically, the Court has personal jurisdiction over Defendants

                       20 because Polymer80 purposely avails itself of California markets by intentionally

                       21 advertising and selling its products to California residents, both online and through

                       22 its network of distributors, including through state-based distributors, thereby

                       23 taking advantage of the benefits and privileges of the laws of the State of California.

                       24 Shipping records obtained by ATF show that Polymer80 shipped approximately 9,400

                       25 items to customers in California between January 2019 and October 2020, including

                       26 at least 202 Buy Build Shoot kits containing all the components necessary for the

                       27 purchaser to quickly assemble a complete and operable firearm.

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                          1        34.     Venue is proper pursuant to California Code of Civil Procedure § 395(a)

                          2 because the place of injuries and losses occurred in the city of Compton, California,

                          3 which is within the County of Los Angeles.

                          4                              GENERAL ALLEGATIONS

                          5        The Aftermath of the Ambush Shooting

                          6        35.     As described above, the shooter shot Sheriff’s Deputy Apolinar in the

                          7 jaw—shattering it and slicing her tongue in half. For two months after the incident,

                          8 her doctors prescribed her an all-liquid diet after they wired her jaw shut to heal. She

                          9 continues to suffer from permanent tongue damage and weakness in her jaw. Her
                       10 lower lip and chin remain numb because the nerve connecting to the lower part of her

                       11 face was severed during the ambush.

                       12          36.     Deputy Apolinar was also shot in both arms and suffered broken bones
                       13 in each arm. She cannot carry a gallon of milk with her right arm.

                       14          37.     Deputy Apolinar spent six days in the intensive care unit.
                       15          38.     Deputy Apolinar thinks about the ambush every day. When she came
                       16 home from the hospital, her young son recoiled in fear at the sight of her because of

                       17 her injuries. They are still working to rebuild their relationship. Her injuries prevent

                       18 her from doing many of the activities she enjoyed with her son before the ambush.

                       19 She cannot even pick him up.

                       20          39.     After the ambush, Sheriff’s Deputy Perez learned that he had actually

                       21 been shot a total of five times. He was shot in the head. He was also shot in the hand,

                       22 resulting in a shattered bone. Another bullet entered his arm and shattered his

                       23 humerus bone. Another bullet went through his shirt, skidded off his bulletproof vest,

                       24 and disabled his handheld radio.

                       25          40.     Because of these injuries, Deputy Perez suffered a concussion and

                       26 brain bleeding. He underwent surgery on his hand and elbow, including a bone graft

                       27 from his hip. He required three plates surgically inserted onto his humerus bone,

                       28 which was broken in three places. Additionally, he now has multiple plates and
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                          1 screws in his hand and arm to hold the shattered bones together, and he is informed

                          2 that he requires additional surgery to restore function in his hand. He suffers from

                          3 numbness in his right hand on his index finger and running to the top of his hand.

                          4 He cannot lift more than ten pounds with his injured arm.

                          5        41.      Deputy Perez struggles with sleep every night and is receiving mental

                          6 health support for his trauma. He suffers from flashbacks. He had no previous

                          7 mental health issues before the ambush. Before his injury he loved being around his

                          8 family, but he now feels withdrawn and irritable for reasons he cannot explain. He

                          9 increasingly avoids interactions with other people.
                       10          42.     Neither Deputy Apolinar nor Deputy Perez has been cleared to return to
                       11 duty.

                       12          The Shooter

                       13          43.     As noted above, the shooter is a California resident who had a history of
                       14 multiple prior felony convictions that made it illegal for him to purchase or possess

                       15 firearms.

                       16          44.     The shooter was able to commit the ambush shooting of the Deputies
                       17 because Defendants’ deliberate and reckless acts created a direct and secondary

                       18 market that foreseeably provided prohibited persons like the shooter with easy access

                       19 to unserialized ghost guns assembled from kits and purchased without any

                       20 background check.

                       21          45.     Upon information and belief, the shooter chose to shoot the Deputies

                       22 with this Polymer80 ghost gun in substantial part because he knew it was

                       23 unserialized and untraceable by normal means.

                       24          Ghost Gun Basics

                       25          46.     A firearm made by a federally licensed manufacturer must be engraved

                       26 with identifying information: a unique serial number, as well as the make and model.

                       27 A ghost gun is a do-it-yourself, homemade gun made from commercially available

                       28 building blocks. It is assembled by an individual rather than by an ATF-licensed
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 43 of 69 Page ID #:51




                          1 manufacturer or importer. A ghost gun has three key, related characteristics: it is

                          2 unserialized, it is virtually untraceable, and its core building blocks (the frame for a

                          3 handgun, or the receiver for a rifle) are acquired without a background check.

                          4        47.     In a pistol (such as a Glock 17, pictured below), the frame provides the

                          5 basic bottom outline of the gun, housing the trigger and the magazine, while

                          6 providing a foundation for the slide and barrel (i.e., the parts a bullet passes through

                          7 when fired and from which cartridges are ejected).

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                       21          48.     Most ghost guns are made from “unfinished” frames and receivers,
                       22 which means they lack machine marking or drilling in certain specified areas

                       23 (typically, the fire control cavity or trigger area). Unfinished frames and receivers

                       24 are often marketed as “80%” complete, such that a buyer needs to do only a small

                       25 percentage of the work—typically, drilling out certain parts—for the frame or

                       26 receiver to be “finished” and then assembled into an operable firearm.

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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 44 of 69 Page ID #:52




                          1        The sale of ghost guns has created an urgent and continuing public
                                   safety emergency
                          2

                          3        49.     The sale of ghost gun kits undermines sixty years of federal law directed
                          4 at preventing dangerous persons from possessing firearms and assisting law

                          5 enforcement in tracing firearms. In 1968, amid rising rates of violent crime and

                          6 following several high-profile assassinations—including the killing of President

                          7 Kennedy with a rifle ordered through the mail—Congress passed landmark

                          8 legislation to assert federal control over the manufacturing, distribution, purchase,

                          9 and sale of firearms. One of the principal aims of the Gun Control Act of 1968 (the
                       10 “Act”) was to eliminate the ability of criminals, minors, and persons with dangerous

                       11 histories to obtain mail-order firearms without any federal oversight or regulation.

                       12 To achieve this aim, the Act mandated that firearms dealers be federally licensed and

                       13 that every firearm be stamped with a serial number so that law enforcement could

                       14 trace the origin of the firearm if it ended up being used in a crime. The Act was later

                       15 amended to require a background check on all purchases of firearms from licensed

                       16 sellers.

                       17          50.     Typically, when police recover a firearm, they use the included serial
                       18 number and other markings to initiate a trace request through the ATF. By tracing

                       19 a gun back to its first sale at retail, law enforcement agencies gain an additional lead

                       20 in an investigation, identify straw purchasers and traffickers, and figure out how a

                       21 gun arrived at a crime scene.

                       22          51.     As noted above, because they are unserialized, ghost guns are intended
                       23 to be, and often are, untraceable back to their original purchaser or subsequent

                       24 transferees. Ghost guns have no recorded history and no records associated with

                       25 them. The untraceability of ghost guns is one of their selling points and makes them

                       26 attractive to criminals and gun traffickers trying to avoid responsibility when their

                       27 guns are recovered by law enforcement. As one federal appellate court has explicitly

                       28 noted in the analogous context of handguns with obliterated serial numbers, “[t]here
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 45 of 69 Page ID #:53




                          1 would appear to be no compelling reason why a law-abiding citizen would prefer an

                          2 unmarked firearm. These weapons would then have value primarily for persons

                          3 seeking to use them for illicit purposes.” 7 Sellers of ghost gun kits take the work out

                          4 of obliterating a serial number and directly and indirectly supply and create a direct

                          5 and secondary market for such illicit users.

                          6            52.     Since 2014, sellers of ghost gun kits have proliferated over the internet,

                          7 with scores of such sellers distributing them during the relevant time period. These

                          8 unserialized and nearly complete firearms are often purchased by or otherwise end

                          9 up in the hands of people who are prohibited from possessing firearms because of
                       10 age, dangerous mental health history, or criminal history – individuals who are

                       11 attracted by the ability to purchase nearly complete guns without a background

                       12 check.

                       13              53.     Once assembled, ghost guns continue to be especially attractive – and
                       14 are often sold or transferred – to criminals, who place a high premium on firearms

                       15 that are untraceable and come with no traceable history of use in prior crimes.

                       16              54.     The number of ghost guns recovered by law enforcement throughout the
                       17 country has increased in recent years. As noted above, from January 1, 2016 through

                       18 December 31, 2020, there were approximately 23,906 suspected ghost guns reported

                       19 to ATF as having been recovered by law enforcement from potential crime scenes,

                       20 including 325 homicides or attempted homicides, and that were attempted to be

                       21 traced by ATF. They are broken down by year as follows:

                       22              a.      2016: 1,750

                       23              b.      2017: 2,507

                       24              c.      2018: 3,776

                       25              d.      2019: 7,161

                       26

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                              7   United States v. Marzzarella, 614 F.3d 85, 95 (3d Cir. 2010).
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 46 of 69 Page ID #:54




                          1            e.      2020: 8,712 8

                          2            55.     The trend in California is consistent with these national numbers. ATF

                          3 has estimated that about 2,700 ghost guns were recovered in California in 2019. 9

                          4 And as noted above, in 2020, LAPD recovered over 700 firearms with Polymer80

                          5 components during the course of criminal investigations. Nearly 300 such firearms

                          6 were recovered from LAPD’s South Bureau, which covers south Los Angeles –

                          7 including the Compton neighborhood where the Plaintiff Deputies were ambushed

                          8 and shot. LAPD reports that the proportion of recovered firearms that are ghost guns

                          9 is increasing. In other words, more and more, criminals are choosing ghost guns to
                       10 commit crimes.

                       11              56.     Other horrific examples of ghost gun crimes in California abound. In
                       12 November 2019, a 16-year-old student at Saugus High School in Santa Clarita

                       13 brought a home-assembled ghost gun to school and used it to shoot five of his

                       14 classmates, killing two before turning the gun on himself. In May of 2020, two far-

                       15 right anti-government activists used a ghost gun to murder a security officer for the

                       16 Oakland federal courthouse and a Sheriff’s Deputy in Santa Cruz. A ghost gun built

                       17 from Polymer80 components was used during a 2019 home invasion robbery and

                       18 murder of three persons in Glendale. Two ghost guns recovered near the scene of a

                       19 November 2020 murder in Glendale, carried out by members of the Gardena 13

                       20 street gang, were built with Polymer80 model PF940C components. 10

                       21              57.     The grim, foreseeable, and inevitable result of the reckless and

                       22 negligent sale of ghost gun kits is the police increasingly finding these dangerous,

                       23 untraceable weapons at crime scenes.

                       24

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                       26
                              8   Proposed Rule at 27722-3.
                       27
                              9   ATF Affidavit at ¶ 28(b).
                       28
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                              10   ATF Affidavit at ¶¶ 28b, 28d.
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 47 of 69 Page ID #:55




                          1        Defendant Polymer80 is Largely Responsible for the Proliferation of
                                   Ghost Guns
                          2

                          3        58.     As alleged above, law enforcement statistics show that an
                          4 overwhelmingly large percentage of the ghost guns recovered nationwide at crime

                          5 scenes were assembled from Polymer80’s products, and the same is true in California

                          6 and Los Angeles.

                          7        59.     In fact, at all relevant times, California was Polymer80’s largest state
                          8 market for its unfinished frame and receiver kits.

                          9        60.     At all relevant times, Polymer80 sold untraceable firearm kits and
                       10 components without first conducting background checks or taking other reasonable

                       11 steps to ensure the purchaser was eligible to buy a gun—foreseeably resulting in

                       12 purchase by and transfer to persons who cannot legally obtain a serialized, traceable

                       13 weapon from a licensed dealer, and to persons for whom such a weapon is

                       14 particularly desirable for use in unlawful acts.

                       15          61.     At all relevant times, Polymer80 offered “Buy Build Shoot” kits—which,
                       16 until recently, 11 were sold directly by Polymer80 before Polymer80 ceased sales, and

                       17 which are still being offered for sale by resellers. 12 With one of these kits, a

                       18 purchaser could obtain a nearly finished Glock-type semiautomatic pistol—the

                       19 precise firearm used in the ambush on Plaintiffs – and quickly and easily assemble it

                       20 into a completed, operable firearm. Polymer80’s website described these kits as

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                       22

                       23     Polymer80 advertised these kits as recently as December 12, 2020. See
                              11

                          “Polymer80 BBSTM Kits,” Polymer80, archived webpage from Dec. 12, 2020, available
                       24 at
                          https://web.archive.org/web/20201212165741/https://www.polymer80.com/pistols/bbsk
                       25 its (last visited July 19, 2021).

                       26    Although Polymer80’s Buy Build Shoot kits are not currently advertised for sale
                              12

                          on Polymer80’s own website, they are still being advertised for sale on some resellers’
                       27
                          websites. See, e.g., https://www.armorally.com/shop/polymer80-pf940c-g19-buy-build-
                       28 shoot-kit/ (last visited August 6, 2021).
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 48 of 69 Page ID #:56




                          1 “contain[ing] all the necessary components to build a complete PF940CTM or

                          2 PF940v2TM pistol.” 13 A Polymer80 Buy Build Shoot kit can be completed into a

                          3 functioning firearm in under thirty minutes. 14 Such a kit is designed to be and may

                          4 readily be converted into an operable weapon. It also is a combination of parts from

                          5 which a firearm which has a short stock and is designed to be held and fired by the

                          6 use of a single hand can be assembled.

                          7           62.     The images below are screenshots of a cached Polymer80 webpage from

                          8 December 11, 2020 relating to the Buy Build Shoot kit.

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                       23             63.     In addition to the full Buy Build Shoot kits, at all relevant times

                       24 Polymer80 advertised and sold frame kits for handguns and lower receiver kits for

                       25

                       26    Polymer80, archived webpage from Dec. 12, 2020, available at
                              13

                          https://web.archive.org/web/20201212165927/https://www.polymer80.com/P80-Buy-
                       27 Build-Shoot-kit-PF940v2-10-Round-Magazine-Gray (last visited July 19, 2021).

                       28
                              14   Proposed Rule at FN54.
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 49 of 69 Page ID #:57




                          1 AR-15 and AR-10 style rifles. 15 These unfinished frame and receiver kits are

                          2 designed to be, and can quickly and easily be converted into, working frames and

                          3 receivers that form the core component of a functioning firearm. As of July 19, 2021,

                          4 Polymer80 was still advertising the sale of these frame kits and lower receiver kits

                          5 through its website. 16 Polymer80’s pistol frame kits were at all relevant times sold

                          6 with a “complete finishing jig and drill bits,” as illustrated in the figure below, which

                          7 is a screenshot of a Polymer80 webpage, taken on February 14, 2021, showing a

                          8 Polymer80 80% pistol frame kit for sale.

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                       19          64.     At all relevant times, Polymer80 also sold other components to enable
                       20 customers to assemble a complete handgun, including pistol barrels, slides, and

                       21 trigger assemblies.

                       22          65.     Beyond selling these products, at all relevant times Polymer80
                       23 substantially assisted the assembly of these firearms by offering written step-by-step

                       24

                       25
                         “P80 80% Pistol Frame Kits,” Polymer80, available at
                              15
                       26
                       https://www.polymer80.com/pistols/80percentpistolkits (last visited July 19, 2021);
                  27 “80% AR Receiver Kits,” Polymer80, available at
                       https://www.polymer80.com/arreceivers (last visited July 19, 2021).
                  28 16
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 50 of 69 Page ID #:58




                          1 assembly instructions online, accompanied by supplemental videos, to facilitate the

                          2 manufacture of both pistols and semi-automatic rifles in a matter of a few hours or

                          3 less. Polymer80 even touted its superior customer service that is on standby to assist

                          4 its customers in manufacturing firearms from its kits. “We want to give the

                          5 customers all the tools they need, as much as we can anyway, to complete this

                          6 product.” 17

                          7            66.     By selling kits and all the component parts together with the means to

                          8 quickly, easily, and readily convert the kits and parts into operable firearms,

                          9 Polymer80 effectively put firearms into circulation while subverting regulations that
                       10 apply to the sale of firearms. This uniquely dangerous method of distribution placed

                       11 the public at risk and allowed and attracted dangerous prohibited users—like the

                       12 shooter who ambushed Plaintiffs—to obtain their products for use in violent crime.

                       13              67.     Defendants’ sales practices make a mockery of federal and state
                       14 background check laws. Before completing each sale, Defendants not only failed to

                       15 conduct formal background checks or require its distributors/resellers to do so, on

                       16 information and belief, Defendants asked direct retail customers to merely “self-

                       17 certify” that they do not have a felony record. By doing so, Defendants knowingly

                       18 flouted federal and state law by projecting compliance through an utterly ineffective

                       19 system. Not surprisingly, ATF has confirmed that Polymer80, or a reseller, sold Buy

                       20 Build Shoot kits to addresses in California where individuals with felony convictions

                       21 resided. 18

                       22              68.     Polymer80 was sued on June 24, 2020, by the Attorney General for the

                       23 District of Columbia for illegally selling ghost gun frame and receiver kits into the

                       24 District of Columbia. That lawsuit put Polymer80 on notice that in 2017, the District

                       25 recovered three ghost guns, followed by 25 in 2018, and 116 in 2019; that the District

                       26

                       27     17Shooters Nation, 020 Dan McCalmon of Polymer 80, YOUTUBE (Aug. 10, 2018),
                              available at https://www.youtube.com/watch?v=nybZ3iNfUhU.
                       28
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                              18   ATF Affidavit at ¶ 87.
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 51 of 69 Page ID #:59




                          1 was on track to set a new record in 2020, with 106 ghost guns recovered between

                          2 January 1 and May 29 alone; that of the 250 ghost guns recovered since 2017, 208

                          3 were produced by Polymer80; and that Polymer80 handguns had been recovered in

                          4 connection with nine homicides in the District.

                          5        69.     The shooter was within the class of foreseeable users, and indeed was

                          6 part of the intended market, for Defendants’ ghost gun kits, even though federal and

                          7 California law prohibited the shooter from purchasing, owning or possessing firearms

                          8 because of his prior felony criminal history.

                          9        70.     Defendants’ method of distribution and marketing—direct to purchasers
                       10 with no formal background check necessary and untraceable to the authorities, and

                       11 indirect through resellers without a serial number or any reasonable measures to

                       12 ensure sales only to eligible purchasers—was foreseeably attractive to a person with

                       13 the shooter’s background. Prior to the ambush, Defendants knew that this means of

                       14 distribution and marketing would be particularly attractive to prohibited users like

                       15 the shooter.

                       16          71.     Defendants nevertheless disregarded the foreseeable risk that their
                       17 reckless marketing, sales, and distribution of unserialized ghost gun kits and parts

                       18 would cause their products to end up in the hands of dangerous prohibited users to

                       19 ultimately be used in crimes. They took no reasonable steps to prevent their product

                       20 from ending up in the hands of prohibited individuals like the shooter. The shooter

                       21 was able to obtain one of Defendants’ firearm kit products and chose to ambush

                       22 Deputies Apolinar and Perez with a Polymer80 firearm in substantial part because

                       23 Defendants disregarded these foreseeable risks.

                       24          I.      DEFENDANTS’ UNLAWFUL ACTS

                       25                  A.    The Federal Gun Control Act

                       26          72.     The Federal Gun Control Act (the “Gun Control Act”), 18 U.S.C. §

                       27 921(a)(3) (emphasis added), provides:

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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 52 of 69 Page ID #:60




                          1                   The term “firearm” means (A) any weapon (including a
                                              starter gun) which will or is designed to or may readily
                          2                   be converted to expel a projectile by the action of an
                                              explosive; (B) the frame or receiver of any such weapon; (C)
                          3                   any firearm muffler or firearm silencer; or (D) any
                                              destructive device. Such term does not include an antique
                          4                   firearm.

                          5           73.     At all relevant times, Polymer80 sold Buy Build Shoot kits consisting of

                          6 all component parts of a firearm, including unfinished handgun frames, which are

                          7 “designed to” be and “may readily be converted” into an operable weapon. At all

                          8 relevant times Polymer80 also sold frame and receiver kits containing an unfinished

                          9 “frame” or “receiver” along with jigs and drill bits designed to enable a customer to
                       10 complete the frame or receiver. These too are “designed to” be and “may readily be

                       11 converted” into the finished frame or receiver of an operable weapon. Accordingly,

                       12 Polymer80 knowingly sold “firearms” under § 921(a)(3). In fact, in applying for a

                       13 warrant to search Polymer80’s premises, the ATF represented to a federal court that

                       14 “ATF Chief Counsel has ... determined that the Buy Build Shoot kits are, as a matter

                       15 of law, firearms pursuant to 18 U.S.C. section 921(a)(3).” 19

                       16             74.     Because the kits that Polymer80 sold are firearms under federal law, a

                       17 number of requirements and obligations arise. As noted above, federal law requires

                       18 that firearm sellers obtain a federal firearm license (“FFL”) prior to engaging in the

                       19 business of dealing in firearms, see 18 U.S.C. § 922(a)(1), and prohibits the shipment

                       20 by an FFL of a firearm directly to a purchaser, § 922(a)(2), or sale or delivery of a

                       21 firearm by a seller with a FFL to a person residing in another state, § 922(b)(3).

                       22 Federal law also requires that firearms dealers and manufacturers conduct a

                       23 background check before transferring firearms, and that manufacturers inscribe

                       24 serial numbers on all firearms. 20 Finally, federal law prohibits selling a firearm to

                       25

                       26     19   ATF Affidavit at ¶ 65, note 6.
                       27  18 U.S.C. §§ 922(t)(1) and 923(i). Polymer80 is federally licensed to manufacture
                              20

                  28 firearms, and is therefore subject to the requirements for “licensed manufacturers” set
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                       forth in 18 U.S.C. § 922 et seq.
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 53 of 69 Page ID #:61




                          1 any purchaser who does not appear in person unless the purchaser submits an

                          2 affidavit as to the legality of the purchase from the seller along with a copy of a

                          3 notification to local law enforcement and acknowledgement of receipt of the

                          4 notification, § 922(c).

                          5            75.     At all relevant times, Defendants knowingly sold firearms in the form of

                          6 ghost gun kits without serial numbers and without conducting or requiring

                          7 background checks or other reasonable steps to ensure eligibility to purchase a gun.

                          8 Defendants also sold and shipped kits directly to purchasers who did not either

                          9 appear in person or submit an affidavit as to the legality of the purchase along with a
                       10 copy of notification to local law enforcement. Finally, Defendants, based in Nevada,

                       11 knowingly sold and delivered firearms to purchasers residing in other states,

                       12 including California.

                       13              76.     Defendants’ above-described business practices and failures to comply
                       14 with federal firearm statutes and regulations were a proximate cause of the injuries

                       15 sustained by Plaintiffs when they were ambushed, as well as of the overall increase

                       16 in ghost gun-related shootings and ghost gun-related criminal activity in California

                       17 and the Los Angeles area.

                       18                      B.    The California Unsafe Handgun Act

                       19              77.     In 1999, California passed the Unsafe Handgun Act (“CUHA”), Cal.

                       20 Penal Code sections 31900, et seq., to establish safety standards for all handguns

                       21 manufactured, imported, and sold in the state.

                       22              78.     The primary enforcement clause of CUHA requires that “[a] person in

                       23 this state who manufactures or causes to be manufactured, imports into the state for

                       24 sale, keeps for sale, offers or exposes for sale, gives, or lends an unsafe handgun shall

                       25 be punished by imprisonment in a county jail not exceeding one year.” 21

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                              21   Cal. Penal Code § 32000(a).
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       26TH FLOOR
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      (415) 981-7210
                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 54 of 69 Page ID #:62




                          1            79.     Moreover, CUHA’s certification requirement mandates that “[e]very

                          2 person who imports into the state for sale, keeps for sale, or offers or exposes for sale

                          3 any firearm shall certify under penalty of perjury and any other remedy provided by

                          4 law that every model, kind, class, style, or type of pistol, revolver, or other firearm

                          5 capable of being concealed upon the person that the person imports, keeps, or exposes

                          6 for sale is not an unsafe handgun[.]” 22

                          7            80.     An “unsafe handgun” is defined as “any pistol, revolver, or other firearm

                          8 capable of being concealed upon the person” that does not have certain safety devices,

                          9 meet firing requirements, or satisfy drop safety requirements. 23 An “unsafe handgun”
                       10 also includes, for firearms manufactured after a certain date and not already listed

                       11 on the roster of handguns tested and determined by the Department of Justice not to

                       12 be unsafe, handguns that lack a chamber load indicator and magazine disconnect

                       13 mechanism.

                       14              81.     Upon information and belief, Polymer80-assembled handguns, originally
                       15 sold by Defendants as kits, do not comply with CUHA because, among other reasons,

                       16 they do not meet CUHA's chamber load indicator and magazine disconnect

                       17 mechanism requirements.

                       18              82.     As mentioned, CUHA charges the California Department of Justice with
                       19 compiling and maintaining a roster of handguns that have been tested and

                       20 determined not to be unsafe, and therefore, “may be sold in this state.” 24

                       21              83.     The kits sold by Defendants intended to be assembled into handguns

                       22 and the assembled Polymer80 handguns – like the Polymer80 PF940c used to shoot

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                       25
                              22   Cal. Penal Code § 32005(b).
                       26
                              23   Cal. Penal Code § 31910.
                       27
                            Cal. Penal Code § 32015; Nat’l Shooting Sports Foundation, Inc. v. State of
                              24

                       28 California, 6 Cal. App. 5th 298 (2016).
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       26TH FLOOR
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      (415) 981-7210
                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 55 of 69 Page ID #:63




                          1 the Plaintiffs – are not listed on the Roster of Certified Handguns maintained by the

                          2 State of California. 25

                          3         84.     At all relevant times, Defendants knowingly aided and abetted the

                          4 manufacture of handguns that do not meet the safety requirements of CUHA by

                          5 marketing, selling, and transferring all of the components, parts, materials, tools,

                          6 instructions and instructional videos needed to build an unsafe handgun in the state.

                          7         85.     Defendants’ actions in aiding and abetting the manufacture of unsafe

                          8 handguns in California – including, on information and belief, their aiding and

                          9 abetting the manufacture in California of the Polymer80 PF940c handgun used to
                       10 shoot Plaintiffs – were a proximate cause of the injuries sustained by Plaintiffs

                       11 during their ambush, as well as of the overall increase in ghost gun-related shootings

                       12 and firearms-related illegal activity in the Los Angeles area.

                       13                   C.    California’s Assembly of Firearms Law

                       14           86.     Under California’s Assembly of Firearms Law, as of July 1, 2018, any
                       15 person “manufacturing or assembling a firearm” was required, prior to

                       16 manufacturing or assembling that firearm, to apply to the California Department of

                       17 Justice “for a unique serial number or other mark of identification.” For a firearm

                       18 “manufactured or assembled from polymer plastic,” the law requires that it contain

                       19 “3.7 ounces of material type 17-4 PH stainless steel … embedded within the plastic

                       20 upon fabrication or construction with the unique serial number engraved or

                       21 otherwise permanently affixed in a manner that meets or exceeds the requirements

                       22 imposed on licensed importers and licensed manufacturers of firearms pursuant to

                       23 subsection (i) of Section 923 of Title 18 of the United States Code and regulations

                       24 issued pursuant thereto.”

                       25           87.     A purpose of the California’s Assembly of Firearms Law was to prevent

                       26 incidents like the shooting of Plaintiffs by confirming through an eligibility check

                       27

                       28
                              25State of California Dep’t. of Justice, “Handguns Certified for Sale,”
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                              https://oag.ca.gov/firearms/certified-handguns/search.
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 56 of 69 Page ID #:64




                          1 that applicants for a serial number to build their own firearm are not prohibited by

                          2 law from owning or possessing a firearm, ensuring the serialization of all firearms,

                          3 and reducing the availability of unserialized firearms, which together reduce the

                          4 availability of firearms and unserialized firearms to prohibited persons, thereby

                          5 increasing the probability that individuals would be prevented or dissuaded from

                          6 attempting such crimes.

                          7        88.     Defendants knowingly sold Buy Build Shoot kits and unfinished pistol

                          8 frame kits that – like the assembled Polymer80 PF940c pistol used to shoot Plaintiffs

                          9 – do not contain a unique serial number engraved or permanently affixed as required
                       10 under California law.

                       11          89.     Defendants intentionally highlighted the unserialized, no background
                       12 check aspect of these firearms in their marketing even though they know that this

                       13 makes them particularly attractive to dangerous prohibited purchasers.

                       14          90.     Defendants also knew of California’s requirement that any person
                       15 intending to manufacture or assemble their own firearm must apply for, obtain and

                       16 then affix a serial number; in fact, on information and belief, as of in or around

                       17 January 2017, Polymer80 began to include blank serialization plates in its PF940

                       18 unfinished frames.

                       19          91.     But the serialization plate included with the Polymer80 PF940

                       20 unfinished frames did not weigh anywhere near the 3.7 ounces required under

                       21 California law, and Polymer80 knew and intended that its PF940 kits would be

                       22 completed into operable firearms without complying with these mandates of

                       23 California law.

                       24          92.     In fact, on information and belief, there is no feasible way to finish or

                       25 modify the PF940 unfinished polymer plastic-based frame so that it included or was

                       26 able to accept or incorporate 3.7 ounces of embedded steel on which a serial number

                       27 could be affixed.

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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 57 of 69 Page ID #:65




                          1        93.     Polymer80 therefore knew and intended that, as of and after July 1,

                          2 2018, any PF940 pistol frame kits it sold into its largest market – California – would

                          3 be completed and assembled into operable firearms that were unlawful to possess in

                          4 that state.

                          5        94.     Defendants’ actions of selling, aiding, and abetting the manufacture and

                          6 assembly of firearms that fail to comply with California’s serialization and 3.7 ounces

                          7 of steel requirements – including, on information and belief, their aiding and abetting

                          8 the manufacture in California of the illegal Polymer80 PF940c handgun used to shoot

                          9 Plaintiffs – were a proximate cause of the injuries sustained by Plaintiffs when they
                       10 were ambushed, as well as of the overall increase in ghost gun-related shootings and

                       11 illegal ghost gun-related criminal activity in the Los Angeles area.

                       12                  D.    California’s Unfair Competition Law

                       13          95.     California’s Unfair Competition Law (“UCL”), Business and Professions

                       14 Code section 17200, provides that “[a]s used in this chapter, unfair competition shall

                       15 mean and include any unlawful, unfair or fraudulent business act or practice and

                       16 unfair, deceptive, untrue or misleading advertising.”

                       17          96.     Defendants violated the UCL by engaging in unlawful business

                       18 activities, including the violations of federal and state law described above.

                       19          97.     Defendants also violated the UCL by committing unfair and fraudulent

                       20 business acts and by engaging in unfair, deceptive, untrue and misleading

                       21 advertising.

                       22          98.     In advertising and selling its Buy Build Shoot and pistol frame kits to

                       23 California residents while representing that ATF determination letters classified

                       24 those kits as not being firearms, Defendant expressly and by implication represented

                       25 that these products are legal to build and own, which they are not, and that ATF has

                       26 said so with respect to Polymer80’s frame kits, which it has not.

                       27          99.     From in or around 2017 or earlier until in or around June 2020 or later,

                       28 Polymer80 stated on the homepage of its website, directly underneath a picture of an
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 58 of 69 Page ID #:66




                          1 “80% PISTOL FRAME”: “Is it Legal? YES! The Polymer80 G150 unit is well within

                          2 the defined parameters of a ‘receiver blank’ defined by the ATF and therefore has not

                          3 yet reached a stage of manufacture that meets the definition of firearm frame or

                          4 receiver found in the Gun Control Act of 1968 (GCA).” Below this text was a link to

                          5 an ATF determination letter concluding that an unfinished AR-15 type receiver

                          6 casting was not a firearm receiver or a firearm. (The “G150” reference thus appears

                          7 to be to an unfinished AR-15 -style unfinished receiver sold by Polymer80.) A 2019

                          8 version of this webpage appeared as follows:

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                       26          100.   Elsewhere on Polymer80’s website and at all relevant times, in the Q&A

                       27 section, Polymer80 posed and answered questions, including “Q: May I lawfully make

                       28 a firearm for my own personal use, provided it is not being made for resale?,” and “Q:
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 59 of 69 Page ID #:67




                          1 Is it legal to assemble a firearm from commercially available parts kits that can be

                          2 purchased via internet or shotgun news?” Polymer80 answered these questions by

                          3 quoting from the ATF’s website, clearly implying that the answer was “Yes,” without

                          4 any qualifications.

                          5        101.   Defendant made all of these statements about the lawfulness if its

                          6 products despite knowing that California was its largest consumer market and

                          7 knowing that, once finished and assembled into operable pistols, Polymer80’s PF940

                          8 kits would not – indeed, could not – be in compliance with California gun laws for the

                          9 reasons described above.
                       10          102.   Defendant affirmatively and broadly stated on its website that such kits
                       11 were legal and also implied the same, without ever disclosing to California

                       12 consumers and omitting mention of any or all of the above-described, highly material

                       13 requirements of California law. 26

                       14          103.   In addition, although the ATF provided determination letters to

                       15 Polymer80 between 2015 and 2017 concluding that certain Polymer80 unfinished

                       16 pistol frames and lower receivers standing alone were not “sufficiently complete to be

                       17 classified as the frame or receiver of a firearm,” including the PF940C standalone

                       18 unfinished frame, the ATF has made no such determination that the frame kits and

                       19

                       20

                       21
                            Beginning in or around July 2020, shortly after being sued the prior month by the
                              26

                       22 Attorney General of the District of Columbia for unfair and misleading business
                          practices, Polymer80 modified its website homepage to read: “Is it legal? The
                       23
                          Polymer80 G150™, RL556v3™ and PF-Series™ 80% Frames are well within the
                       24 defined parameters of a ‘receiver blank’ defined by the ATF and therefore has not yet
                          reached a stage of manufacture that meets the definition of firearm frame or receiver
                       25 found in the Gun Control Act of 1968 (GCA). As always Polymer80 advises
                          EVERYONE to check with their local state laws prior to making a purchase on our
                       26
                          website, as they may differ from federally allowed regulations.” Below this text was
                       27 a link to 3 different ATF determination letters, concluding that certain unfinished
                          frames and receivers – standing on their own – were not firearms under federal law.
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 60 of 69 Page ID #:68




                          1 Buy Build Shoot Kits sold by Polymer80 are not considered firearms under federal

                          2 law.

                          3        104.   To the contrary, when Polymer80 submitted its PF940v2 unfinished

                          4 frame in December 2017, it hid from and failed to disclose to ATF that the PF940v2

                          5 would be sold as a kit with a finishing jig to guide the minimal required drilling and

                          6 machining, as well as the proper size drill bits, among other parts.

                          7        105.   ATF wrote back to Polymer80 a few months later to note that it had

                          8 determined that the frame was being sold as part of a pistol frame kit: “[i]t is clear

                          9 from the above information provided in your correspondence that the submitted
                       10 sample is only a component used in the assembly of an end item,” and that “[c]learly

                       11 the submitted sample is simply a component of a larger product.”

                       12          106.   The ATF noted in the same letter that it would “not render a
                       13 classification on a partial product submission.”

                       14          107.   Instead, the ATF instructed Polymer80 to “submit the complete Polymer
                       15 80 Model PF940v2 80% Standard Pistol Frame Kit,” if Polymer80 wanted to receive

                       16 an evaluation and classification of the product.

                       17          108.   Polymer80 never subsequently submitted the complete PF940v2 pistol
                       18 frame kit or any of its frame kits or Buy Build Shoot kits to the ATF for a final

                       19 determination as to whether such kits constituted firearms.

                       20          109.   Polymer80 not only continued to advertise and sell the PF940 pistol

                       21 frame kit for nearly three years since receiving the ATF’s 2018 letter, but to

                       22 advertise and sell the more inclusive Buy Build Shoot Kits through at least

                       23 December 2020 – and continued to misrepresent, expressly and impliedly, that these

                       24 kits were “legal,” without any qualifications or disclosures that (a) the determination

                       25 letters evaluated only the unfinished frames and receivers as standalone products,

                       26 (b) Polymer80 had hid and failed to disclose to ATF that the standalone PF940c

                       27 unfinished frame kit submitted for classification was sold with a jig to guide the

                       28 purchaser as to where to drill out the required holes (contrary to Polymer80’s false
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 61 of 69 Page ID #:69




                          1 and misleading statements in its letter to ATF that its unfinished frame was “void of

                          2 any indicators that designate or provide guidance in the completion of the firearm”),

                          3 and (c) the ATF’s letters did not address the requirements of California law at all.

                          4        110.   Defendant’s business practices are also unfair in violation of the UCL,

                          5 including because they are deceptive and sharp, threaten violations of California law,

                          6 violate the policy and spirit of federal and California gun laws, and have the same or

                          7 comparable effect as violations of those laws, all as described above.

                          8        111.   The California Legislature intends to regulate the sale of firearms

                          9 within the state, including by requiring all firearms to be marked with a unique
                       10 serial number. Polymer80 violated this policy by selling frame kits that enabled

                       11 purchasers to assemble an unserialized Glock-style pistol – indeed, a pistol incapable

                       12 of satisfying California’s serialization requirements as described above – instead of

                       13 purchasing a legal, serialized firearm or firearm kit from a licensed dealer.

                       14          112.   The California Legislature also charges the Department of Justice with
                       15 compiling and maintaining a roster of handguns that “may be sold in this state”

                       16 under CUHA. Polymer80’s products – even in finished form – did not appear on that

                       17 roster but were nonetheless sold as kits and intended to become operable firearms.

                       18 CUHA additionally requires that every person who offers or exposes for sale any

                       19 firearm shall certify under penalty of perjury that the firearm is not an unsafe

                       20 handgun, which Polymer80 has never done for any of its products sold.

                       21          113.   Defendant also engaged in business activity that is unfair to the

                       22 residents of California because the sale and assembly of Polymer80’s Buy Build Shoot

                       23 kits and frame kits in contravention of state and federal law is “immoral, unethical,

                       24 oppressive, unscrupulous or substantially injurious to consumers,” and the harm

                       25 caused to the People of the State of California from the proliferation of untraceable

                       26 ghost guns outweighs the utility of these unserialized, untraceable weapons.

                       27          114.   Defendants' above-described violations of the UCL, individually and

                       28 collectively, were a proximate cause of the injuries sustained by Plaintiffs when they
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 62 of 69 Page ID #:70




                          1 were ambushed, as well as of the overall increase in ghost gun-related shootings and

                          2 ghost gun-related criminal activity in California and the Los Angeles area.

                          3                                        CAUSES OF ACTION

                          4                                     COUNT I – NEGLIGENCE

                          5                                        (Against all Defendants)

                          6        115.     Plaintiffs incorporate and reallege the above paragraphs as if stated

                          7 fully herein.

                          8        116.     At all relevant times, Defendants were subject to the general duty

                          9 imposed on all persons and entities to act reasonably not to expose others to
                       10 reasonably foreseeable risks of injury.

                       11          117.     In fact, as sellers of ghost gun kits and unfinished frames and receivers,
                       12 Defendants are subject to the highest duty of care because of the danger that their

                       13 products can cause.

                       14          118.     Defendants had a duty to exercise reasonable care in marketing,
                       15 distributing, and selling ghost gun kits and components and to refrain from engaging

                       16 in any activity creating reasonably foreseeable risks of injury to others. A breach of

                       17 such a duty constitutes negligence.

                       18          119.     Defendants acted illegally, negligently, recklessly, with malice and
                       19 oppression, despicably, and in conscious disregard for the health and safety of others,

                       20 when they sold and injected into the market the firearm kit and components that

                       21 were thereafter finished and assembled into the operable firearm used to ambush

                       22 and shoot Sheriff’s Deputies Apolinar and Perez.

                       23          120.     At all relevant times, Defendants’ negligent, reckless, despicable, and

                       24 malicious conduct, and their conscious disregard for the health and safety of others,

                       25 included but was not limited to:

                       26          a.       Defendants knew that background checks prior to the purchase of

                       27 firearms and serialization of firearms were required by California and federal law.

                       28 Defendants knew that background checks and serialization of firearms are effective
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      (415) 981-7210
                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 63 of 69 Page ID #:71




                          1 measures in preventing and reducing violent crimes. They knew that these were

                          2 important safety requirements. At all times, Defendants knew or should have known

                          3 that the proliferation of ghost guns was a problem in California and was contributing

                          4 to criminal conduct in California. They knew or should have known that selling

                          5 unserialized ghost guns kits without background checks would attract would-be

                          6 criminals as purchasers. They knew or should have known that every Polymer80

                          7 pistol frame kit purchased by a California consumer to be finished and assembled

                          8 into an operable weapon would and could not be in compliance with – and would be

                          9 illegal under – California law. They knew or should have known that selling
                       10 unserialized ghost gun kits without background checks would provide to felons, who

                       11 otherwise were prohibited from owning weapons, easy access to firearms capable of

                       12 inflicting great bodily injury or death. They knew or should have known that selling

                       13 unserialized ghost gun kits without background checks would enable, empower,

                       14 and/or embolden criminals to commit violent crimes that they would not otherwise

                       15 have committed. They knew or should have known that continued sales of firearms

                       16 without background checks or serialization would likely cause bodily injury and/or

                       17 death to innocent people, such as Plaintiffs.

                       18          b.     Despite their knowledge, Defendants intentionally designed,
                       19 constituted, packaged, marketed, advertised, and sold ghost gun kits. In fact, they

                       20 went even further by intentionally designing, constituting, packaging, marketing,

                       21 advertising, and selling ghost gun kits in such a manner as to make it easy for and

                       22 encourage people with no special equipment or training to quickly assemble a

                       23 finished and usable firearm. Defendants intentionally designed, constituted,

                       24 packaged, marketed, advertised, and sold ghost gun kits that were at least as

                       25 dangerous as a finished firearm (because of their easy conversion to a finished

                       26 firearm) but were misrepresented as being removed from the legal protections,

                       27 background checks, serialization and other safety requirements that are mandatory

                       28 in the context of firearm sales under federal and California law, even though
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      (415) 981-7210
                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 64 of 69 Page ID #:72




                          1 Defendants knew of the serious harm this would inflict on, and which would be borne

                          2 by, innocent members of the public including law enforcement officers attempting to

                          3 combat crime.

                          4        c.     Despite their knowledge that their ghost gun pistol frame kits were

                          5 especially attractive to criminals, would not be legal to own in California once

                          6 completed, and that this would inevitably result in serious injury or death to

                          7 innocent people, Defendants encouraged and promoted their purchase by California

                          8 consumers and intentionally chose not to take any reasonable steps to ensure or

                          9 allow that its completed pistol frame kits would be in compliance with California law
                       10 or to verify (or require resellers to attempt to verify) that purchasers or subsequent

                       11 transferees were not legally prohibited from purchasing or possessing a firearm,

                       12 and/or unfit to safely possess a firearm.

                       13          d.     Defendants chose to overlook the highly foreseeable and even inevitable
                       14 risk that a number of those who chose to buy their ghost guns would be criminals

                       15 who otherwise would not have gained access to such untraceable guns, that a number

                       16 of those buyers would attack innocent people using the ghost guns, and that a

                       17 number of those attacks would result in serious injuries or deaths that otherwise

                       18 would not have occurred. They chose to overlook this harm, and to intentionally

                       19 embrace it, because they wanted to keep selling ghost guns and making money from

                       20 those sales. They valued their profits over the lives of innocent people, and this

                       21 conduct was outrageous, despicable and shocking to the conscience.

                       22          121.   Defendants’ negligence was a direct and proximate cause of harm to

                       23 Plaintiffs, by causing and allowing the shooter to gain unlawful possession of a

                       24 Polymer80 ghost gun firearm, which he chose to use and did use to ambush Sheriff’s

                       25 Deputies Apolinar and Perez.

                       26          122.   In addition, Defendants knowingly violated the requirements of federal

                       27 law, including violations of 18 U.S.C. § 922 and 26 U.S.C. § 5842, by selling firearms

                       28 without serial numbers and without conducting background checks; as well as
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       26TH FLOOR
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      (415) 981-7210
                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 65 of 69 Page ID #:73




                          1 California firearms laws, including violations of Cal. Penal Code §§ 31900, et seq. and

                          2 California’s Assembly of Firearms Law, by causing to be manufactured in California

                          3 and aiding and abetting the manufacture and possession in California of unsafe and

                          4 unserialized handguns, including the Polymer80 PF940c pistol used to shoot

                          5 Plaintiffs, and also including violations California’s Unfair Competition Law, for the

                          6 reasons set forth above.

                          7        123.   The knowing violations of law by Defendants were a direct and

                          8 proximate cause of the injuries to Plaintiffs. These laws are intended to protect

                          9 public safety by preventing the sale and transfer of unserialized firearms to
                       10 dangerous persons, including especially to individuals with disqualifying criminal

                       11 records, and preventing access to and use of unsafe and unserialized handguns across

                       12 the country and in California. Defendants flouted those laws for profit, and

                       13 consciously disregarded the known and foreseeable risks of its business practices,

                       14 and in so doing, directly and proximately caused injury to Plaintiffs, who are

                       15 shooting victims within the class of persons these laws were designed to protect, and

                       16 suffered the type of harm the laws are designed to protect against.

                       17          124.   As a direct and proximate result of the aforementioned conduct and
                       18 breach of duty, Plaintiffs sustained and will sustain physical pain, mental suffering,

                       19 loss of enjoyment of life, anxiety, and emotional distress.

                       20          125.   As a direct and proximate result of the aforementioned conduct and

                       21 breach of duty, Plaintiffs have incurred and will continue to incur economic damages,

                       22 including lost future income, lost earning capacity, and past and future medical

                       23 expenses and related expenses.

                       24          126.   Accordingly, Plaintiffs are entitled to recovery against Defendants in an

                       25 amount to be determined at trial.

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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 66 of 69 Page ID #:74




                          1                                COUNT II- PUBLIC NUISANCE

                          2                                      (Against All Defendants)
                          3        127.     Plaintiffs incorporate and re-allege the above paragraphs as if stated

                          4 fully herein.

                          5        128.     Defendants created a public nuisance by marketing, selling and

                          6 distributing ghost gun kits to California residents without serial numbers, without

                          7 background checks, without complying with California gun laws, and without taking

                          8 any reasonable steps to ensure that purchasers and transferees were not prohibited

                          9 from purchasing or possessing firearms, despite knowing and consciously
                       10 disregarding the risks that they were (a) creating an illegal market for ghost guns,

                       11 (b) causing, promoting, and encouraging Californians to assemble firearms that were

                       12 illegal to possess, and (c) directly and indirectly distributing ghost guns to dangerous

                       13 persons who are prohibited from purchasing or possessing firearms under federal and

                       14 state law and who were likely to obtain and use such firearms for criminal acts

                       15 and/or transfer such firearms to other prohibited persons likely to do the same.

                       16 Defendants’ actions have created a significant threat to the public right of health and

                       17 safety in public spaces and have unreasonably interfered with public health and

                       18 safety. Defendants have facilitated the purchase and acquisition of unserialized,

                       19 untraceable, unlawful guns by individuals prohibited from acquiring and possessing

                       20 guns by the state and federal legislatures, and have acted in a manner that is

                       21 offensive and intolerable, with malice and oppression and in conscious disregard of

                       22 the health and safety of others. Defendants’ ongoing business practices have resulted

                       23 in dangerous conditions that threaten citizens across the country, in the State of

                       24 California, and in the City of Los Angeles.

                       25          129.     In one instance, the nuisance created by Defendants proximately caused

                       26 direct and special injuries to Plaintiffs—who were shot by one of Defendants’

                       27 firearms while serving their community as Los Angeles County Sheriff’s Deputies.

                       28 Those injuries are different in kind from the above-described injuries to the general
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 67 of 69 Page ID #:75




                          1 public. Defendants’ actions resulted in the shooter possessing and choosing to use a

                          2 Polymer80 ghost gun, providing him the opportunity and equipment necessary to

                          3 harm Plaintiffs.

                          4         130.   As a result of the actions, inactions and omissions of Defendants,

                          5 Plaintiffs have suffered and will continue to suffer general, compensatory and

                          6 consequential damages.

                          7                                     REQUESTED RELIEF

                          8         WHEREFORE, the Plaintiffs respectfully request that this Court enter

                          9 judgment in their favor and that the Court award the following relief:
                       10           a)     Noneconomic damages according to proof at trial;
                       11           b)     Economic damages according to proof at trial;
                       12           c)     Pre-judgment and post-judgment interest in accordance with California
                       13                  law;
                       14           d)     Punitive and exemplary damages in an amount sufficient to punish and
                       15                  deter Defendants’ conduct;
                       16           e)     Costs of suit and attorneys’ fees to the fullest extent permitted by law;
                       17           f)     Such other relief as the Court may deem just and proper.
                       18 / / / /

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       26TH FLOOR
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                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 68 of 69 Page ID #:76




                          1 Dated: August 20, 2021            W ALKUP , M ELODIA , K ELLY &
                                                              S CHOENBERGER
                          2

                          3

                          4                                   By:
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                                                                    PEREZ
                          8

                          9                                         ERIC TIRSCHWELL*
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                       10                                           EVERYTOWN LAW
                       11                                           Attorneys for Plaintiffs CLAUDIA
                       12                                           APOLINAR and EMMANUEL PEREZ-
                                                                    PEREZ
                       13                                           *Motions for admission pro hac vice
                                                                    pending
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   LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                36
 A PROFESSIONAL CORPORATION
  650 CALIFORNIA STREET

                                     FIRST AMENDED COMPLAINT FOR DAMAGES – CASE NO. 21STCV29196
       26TH FLOOR
SAN FRANCISCO, CA 94108
      (415) 981-7210
                Case 2:21-cv-08401-PA-PVC Document 1-1 Filed 10/22/21 Page 69 of 69 Page ID #:77




                          1                            DEMAND FOR JURY TRIAL

                          2       Plaintiffs hereby request a trial by jury.

                          3

                          4 Dated: August 20, 2021                 W ALKUP , M ELODIA , K ELLY &
                                                                   S CHOENBERGER
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                          6

                          7                                        By:
                                                                      RICHARD H. SCHOENBERGER
                          8                                           SPENCER J. PAHLKE
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                       12                                              ERIC TIRSCHWELL*
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